Case 5:10-cv-01686-EEF-MLH Document 1-1 Filed 11/05/10 Page 1of1PagelD#: 7
CIVIL COVER SHEET

®IS 44 (Rev, 12/07)

The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings
by local rules of court. This form, approved by the Judicial Conference of the United

the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.}

tates in September 1974, is required for the use of t

or other papers as required by law, except as provided
e Clerk of Court for the purpose of mitiating

 

PLAINTIFFS

I, (a
woetlnce OIL & GAS, INC., MARSHALL OIL & GAS, INC.,
TEXAS GAS DEVELOPMENT, LP., AND JARRATT ENTERPRISES,

L.L.C.

(b} County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

¢
Pils é Downer,

Attorney’s ie Name, Address, and Telephone Number)
Il, Downer, Huguet &

iihite, L.L.C., Regions Center,

Suite 1325, 333 Texas Street, Shreveport, LA 71101 (318) 213-4444

DEFENDANTS

Attorneys (If Know

 

County of Residence of First Listed Defendant

ENCANA OIL & GAS (USA} INC.

 

(IN U.S, PLAINTIFF CASES ONLY}

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

John T. Kalmbach, Cook, Yancey, King & Galloway, 333 Texas
Street, Suite 1700, Shreveport, LA 77104 (318) 221-6277

 

li. BASIS OF JURISDICTION

(Place an “X” in One Box Only)

 

 

   

  

    

  
 

    

  

   

HL CITIZENSHIP GF PRINCIPAL PARTIES Place an“ in One Box for Plaintiff

 

  

   

 

   

  

{For Diversity Cases Only} and One Box for Defendant)
Ol US. Government OG 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S, Government Not a Party) Citizen of This State M1 0 1 | Incorporated or Principal Place o4 44
of Business In This State
Q2 U.S, Government Bie4 Diversity Citizen of Another State G 2. 2 Incorporated and Principal Place os Ws
Defendant (indicate Citizenship of Parties in Hem HI} of Business In Another State
Citizen or Subject of a O03 © 3 Foreign Nation o6 06
Foreign Country.
NATURE OF SUIT
ON : ORFETEGRE EEN ATL VE: Fl
C) 110 insurance PERSONAL INJURY PERSONAL INJURY [0 530 Agriculture O 422 Appeal 28 USC 158 QO 400 State Reapportionment
(1 120 Marine {J 310 Airplane ( 362 Personal Injury - CF 620 Other Food & Drug O 425 Withdrawal GO 410 Antiust
0 130 Miller Act (J 345 Airplane Product Med. Maipractice [C7 625 Drng Retated Seizure 28 USC 157 GO 430 Banks and Banking
CO 140 Negotiable Instrument Liability 365 Personal Injury - of Property 21 UST 881 450 Commerce
1) 150 Recovery of Overpayment {J 320 Assault, Libel & Product Liability & 630 Liquor Laws PR URE RE 460 Deportation
& Enforcement of Fudgment Slander (} 368 Asbestos Personal «= 107 640 RR. & Truck ©} 820 Copyrights CF 479 Racketeer Influenced and
(7 151 Medicare Act {J 330 Federal Employers’ Injury Product CF 636 Airline Regs. fF 830 Patent Corrupt Organizations
0] 152 Recovery of Defaulted Liability Liability CF 666 Occupational {7 840 Trademark O 480 Consumer Credit
Student Loans C340 Marine PERSONAL PROPERTY Safety/Health (7 490 Cable/Sat TV
{Exe}, Veterans) C) 345 Marine Product C) 370 Other Fraud CO 810 Selective Service
0 153 Recovery of Overpayment Liability 371 Trath in Lending JAB) eS OCINE SECURELY: (F850 Securities‘Commodities/
of Veteran’s Benefits 1] 356 Motor Vehicle O) 380 Other Personal O 716 Fair Labor Standards CF 861 HIA (1395ff) Exchange
1 £60 Stockholders’ Suits 355 Motor Vehicle Property Damage Act O 862 Black Lung (923) 0 875 Customer Challenge
§{ 190 Other Contract Product Liability 1) 385 Property Damage C} 720 Labor/Mgmt. Relations |) 863 DIWC/DIWW (405{2)) 12 USC 3410
{J 395 Contract Product Liability |C] 360 Other Personal Product Liability GO 730 Labor/Mgmt.Reporting |() 864 SSID Title XV1 O 899 Other Statutory Actions
0 196 Franchise Inju : & Disclosure Act 0 89} Agricultural Acts
eee RAD PROPS EY: AERC -PRISONER:? SCLC} 740 Railway Labor Act eae ALES 4[] 892 Economie Stabilization Act
CF 210 Land Condemnation O 441 Voting J 516 Motions to Vacat G 790 Other Labor Litigation O 870 Faxes (U.S, Plaintiff O 893 Environmental Matters
O 226 Foreclosure O 442 Employment Sentence (J 791 Empl, Ret. Inc. or Defendant) 0) 894 Energy Ailocation Act
C} 230 Rent Lease & Ejectment [CI 443 Housing/ Habeas Corpus: Security Act O 87! IRS—Third Party 1 895 Freedom of Information
C} 240 Torts to Land Accommodations 536 General 26 USC 7609 Act
CF 245 Tort Product Liability ) 444 Welfare $35 Death Penalty : CUMIVIGICA TION cious 1) 900Appeal of Fee Determination
(290 AN Other Real Property |[( 445 Amer. w/Disabilities - |) 540 Mandamus & Other |C} 462 Naturalization Application Under Equal Access
Employment IT) 5S0 Civil Rights ( 463 Habeas Corpus - to Justice
C1 446 Amer. w/Disabilities - [535 Prison Condition Alien Detainee (7 958 Constitutionality of
Other CF 465 Other Immigration State Statutes
a

 

440 Other Civil Rights

 

Actions

 

 

 

¥. ORIGIN (Place an “X” in One Box Onty) Appeal to District
S& 1 Original 2 Removed from [1 3 Remanded from (I 4 Reinstatedor CF 5 Transferred fom 6 Maultidistriet 1 q he ge from
Proceeding State Court Appellate Court Reopened fame istrict Litigation iudement,

 

VI. CAUSE OF ACTION

VIL REQUESTED IN

28.3.0. Sect, 1441

Brief description of cause:

 

C} CHECK IF THIS IS A CLASS ACTION

DEMAND $

Cite the U.S. Civil Statute under which you are filing (Deo not cite jurisdictional statutes untess diversity):

Plaintiffs claim certain overriding royaity and other mineral interests

CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER F.R.CP. 23 JURY DEMAND:  ¥es No
Vil, RELATED CASE(S) See j _
IF ANY (See instructions)’ TDG DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
11/05/2010 CELy, Jee
FOR OFFICE USE ONLY ¥
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

ALAA NNT
